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Exhibit 32
            Banknorth
                                                         STATEMENT OF ACCOUNT



CHARTEROAKTRUST                                          Prge:                                    I of2
WAYNE H BURSEY TRUSTEE                                   Statcment Period: May 12 2009-May 20 2009
IOO GRIST MILL RD                                        CustRcf#:            4242774548-726-T-ilfl#
SIMSBURY CT 06070                                        Primarv Account #:              4A-2714548




Business Prcmicr Money Matket
CEIITAF OAF 1rNOET                                                             Account# 424-2774548
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ACCOUNTSUMMARY
Beginning Balance                              0.00      AvcragcCollcctcdBalancc        6,817,433.13
Dcposib                             30,677,296.83                     Pcriod
                                                         Intcrcst Paid this     2,084.38
Other Crcdits                             2,084.38                 Year-to-Drtc 2,084,38
                                                         Intcrcst Paid
                                                                           Eamed 0.28%
                                                         Arurual Percentoge Yicld
Ending Balance                      30,679,38 L23        Days in Pcriod                  9


DA tL V ACCOUNT AC'TIV'TY
Deposits
POSTINO DATE                  DESCzuFTION                 SE'JALNO.                            AMOUNT

5/13                          DEPOSIT                                                             20,00
5/t 8                         DEPOSIT                                                  30,677,276.85

                                                                         Subtotal:     30,67',1,?'96.85

Other Crcdis
POSTINO DATE                  DESCRIPTION                 SERIALNO.                            AMOUNT

5n0                           INTEREST PAID                                                   2,084.38

                                                                         Subtotel:            2,084.38

DNILYBALANCE SUMMARY
DATE                                      BALANCE       DATE                                   BALANCE

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pl              eanknorth
                                                                           STATEMENT OF ACCOUNT



CHARTEROAKTRUST                                                            Pagc:                                       I af2
 WAV|VE H BURSEY TRUSTEE                                                   StrtcmentPcriod: Mry 2t 2009.Jun 20 2009
 lOO GRIST MILL RD                                                         Cust Ref #:       4242774548-nL"l-#tl*
SIMSBTJRY          CT 06070                                                Primary Account   #:                474-2774548




Business Premier Money Mar*et
CHART!!' OAX TRUST                                                                                Accounr# 424-2'l?4548
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ACCOUNTSUMMARY
Bcginning Balanco                        30,679,38 1.23                    Avcrage Collcctcd    Balance   20, I 68,824. I 3
Othcr Crcdits                                 t9,0?s.t7                                     Period
                                                                           Inlcrest Paid this           19,025. 17
                                                                           Intcrcst Paid Ycar-to-Drtc 21,109.55
OtherWitMrawals                          I 0,863,842.7s                    Annual Pcrcentage Yield Eamcd |.lIo/c
Endirtg Balance                          r9,814,563.65                     Days in Period                       3l

DAILY ACCOUNT ACTIVITY
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POSTINO DATE                       DESCRIPIION                             SBRIAL NO                                AMOUNT
6n9                                INTERESTPAID                                                                   t9,425.t7
                                                                                          Subtotal:               19,025.   l7
Othor Withdrrwals
POSTINO DA?E                       DESCzuPTION                             SERIALNO.                                AMOUI.IT

snl                                DEBIT                                                                      8,677,276.t5
sn6                                DEBiT                                                                      2,1 86,566.00

                                                                                          Subtotal:       10,863.842.75
DAILY BALANCE SUMMARY
DATE                                          BALANCE                 DATE                                         BALANCE

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CHARTEROAKTRUST                                           Pagc:                                  I of2
WAYNE H BURSEY TRUSTEE                                    Statcmcnt Pcriod: Jun 21 2009.Ju1 20 2009
 IOO   GRIST MILL RD                                      CustRcf#: 424277454*726:f4#*
slMsELrRY CT 06070                                        Primary Account #:            424-2774548




Business Premier Money Morket
CllrtRTBR Orr rnugT                                                             Acwrnt# 424-2714548
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ACCOTJNT SUMMARY
Beginning Balance                     19,834,563.65       AveragcCollectedBalance 19,834.984.79
Othcr Crcdits                               t2,634,35                  Pcriod
                                                          Interest Paid this     12,634.35
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Ending Balancc                        19,847,198.00                         Eamcd 0.78o/o
                                                          Annunl Percceitagc Yicld
                                                          Days in Period                 30

DAILY ACCOUNT ACTIVITY
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POSTINC DATE                     DESCRIPTION              SERIAI, NO.                         AMOIJNT
7n0                              INTERESTPAID                                               12,634.35

                                                                         Subtotal:          t2,634.35
DAILY BALANCE SUMMARY
DATE                                        BALANCE

6na                                 19,834,563.65
7n0                                 19,847,t98.00




Cell l -800-428-?000 for 24-hour Dircet Banking service

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CHARTEROAKTRUST                                                           Page:                                        I at2
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IOO GRISTMILL RD                                                          CustRef#:            4242774548.726.T.###
                                                                          Primary Account ll:             424-2774548
SIMSBURY CT 06070




Business Premier Money Market
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ACCOUNTSUMMARY
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DAILY ACCOIjNT ACTIVTTY
Othcr Crcdits
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8n0                            INTERESTPAID                                                                      12,642.39

                                                                                         Subtotal:               12,642.39
DAILY BALANCE S1JMMARY
DATE                                       BALANCE

7na                                19,847,198.00
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Call I {00-428-7000 for 24-hour Dircc1 Banking service

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CHARTEROAKTRUST                                                             Page:                                         I of2
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SIMSBURY CT 06070
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Busincss Prcmier Moirey Markct
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ACCOIJNTSUMMARY
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DAILYAC€OUNT ACTIVITY
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9/lE                           INTERESTPAID                                                                           12,650.45

                                                                                             Subtotal:                12,650.45

DAILY BAI^ANCE SUMMARY
DATE                                         EALANCE

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Call l-800.428-?0fi) for2,l-hourDirect Bonking service


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Exhibit 33
3125/13 at 13:57:68.84                                                                                                                  Pagoi   7

                                              GRIST MILL CAPITAL. DEL O9-10
                                                        General Ledger
                                        For the Perlod From Jan 1, 2009 to Dec 31, 2009
Filter Criterls lndudes: Roport ordor ls by lD. R€port le pdnted wlth shorlsnod descripUons and wlth Hlde Pedod Subtotals on MulU-Pedod
R€port and In D€t8ll Form8t.

 Acoount lD                  Date          Referencs   Jrnl    Trans DeecrlpUon            D€blt   Amt        Crsdlt Amt             Balancs
 Account Descrlptlon

 Due Oo) B 419 Plan
                             1   2t31l09                       Endlng Balence                                                   .225,000.00


 14401                       lnns                              Bsginnlng Bslanc6                                            -2,025,000.00
 Oue    fto) HECTOR
                             1   2r31l09                       Endlng Balance                                               '2,025'000.00


 14800                       111109                            Beginnlng Balance
 Due    (fo) Phoenix   Cap   7/13/09       71309       CRJ     PHOENIX CAPITA                               2,500,000.00
                                                               Change                                       2,500,000.00 .2,500,000.00
                             12/s1/09                          Endlng Balance                                               .2,500,000.00


 1   4S000                   1/1/09                            Beginning Balanco                                                .700,000.00
 Ouo Cl'o) Nova Bonsfit      12y31/09                  GEN     To rocord acllvlty,.         50,000.00
                                                               Change                       50,000,00                               50,000.00
                             12/31/09                          Endlng Balance                                                   450,000.00


 16000                       1t1tag                            Boglnnlng Balance                                                -508,000,00
Accrued Intaresl             12t31tO9                  GEN     To r€cla88 amount                            3,232,803.00
                             12131t05                  GEN     To reclEss for SML         641.023.52
                                                               Change                     641,023.52 3,232,803.00 -2,591,779.48
                             12/31/09                          Endlng Balance                                               .3,099,779.48


27001                        1/1109                            Beginnlng Balance                                            -8,004,130.20
Note Payable - Rldge         12131105                  GEN     To reclaee  amount       3,232,803.00
                                                               Changa                   3,232,E03.00                         3.232,803.00
                             12t31t05                          Endlng Balance                                               -4,771,333.20


27002                        1t1t0g                            Beglnnlng Balancs
Nole Payable -    Ridge      5l21t0g       52109       CRJ     CHARIER OAK T                               8,677,270,15
                             5n6los        52609       CRJ     CHARTER OAK T                               2,186,666,00
                       Ofintns
                          10/30/09
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                                                       CDJ     UNKNOWN                  1,800,000.00
                                                               Change                   1,800,000.00 30,063,842,75 -28,863,842.7
                             1?l3U09                           Endlng Balance                                               .20,863,942,7


38500                        1/1/09                           Eoginnlng Ealanco
Membels Draw                 7mos                      CDJ    CASH                          5,000.00
                             10n8i09       102809      CRJ    GRIST MILL HOLD                              3,000,000.00
                             10t28t09                  CDJ    GRIST MILL HOLD         19,000,000.00
                             10/30/09                  CDJ    UNKNOWN                    150,000.00
                             12nAO9        122809      cR^,   GRIST MILL HOLD                                214,740.00
                             12rZ9lO9 122909           CRJ    GRIST MILL HOLD                                340,e00.00
                             12ngt09       122905      CRJ    GRIST MILL HOLD                                  52,n7.55
                             nngns         122eos      CRJ    GRIST MILL HOLD                                 25,000,00
                             1U30t09 123009            CRJ    GRIST MILL HOLD                                274,400.00
                             1230/09 123009            CRJ    GRIST MILL HOLD                                127,800.00
                             1?31rce 123109            CRJ    GRIST MILL HOLD                                 86,299.20
                             1A31tag 123109            CRJ    GRIST MILL HOLD                                  8,000.00
                             12/31/09                  GEN    To reclass for SML                           3,592,086.20
                                                              Chango                  19,155,000.00        7,721,882.95        11,433,017,0
                             1U31t09                          Endlng Balancs                                                   11,433,017.0
Exhibit 34
              Bank
              America! Most Convenient Banko                            STATEMENT OF ACCOUNT



GRIST MILL CAPITAL LLC                                                  Page:                               I of3
IOO GRIST MILL ROAD
                                                                        StatementPcriod: Oct0l 2009-Oct 3l 2009
SIMSBURY CT 06070
                                                                        CustRcf#:            4242114712-720-T-ffi
                                                                        Primary Account #:                 424-27'74712




REG GG/INTERNET GAMBLING NOTIFICATION
PURSUANT TO TI|E T'NLA9'F-UL INTERNET GA$BLXNG ENTORCEIIEN!'ACI OF 2006 AND
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WTTS UNI.AWEUL TNTER}TET EET,I T,TNC ARE PRORTBITED FROM BEING PROCESSED THROUGH
IOUR ACCOI'NI OA RELATIONSNXP WITH OT'R TNSTITUTION.

Business Convenience Checking
CRIST UILL CAPITEIJ II'C                                                                     Accorrt# 424-2774712

ACCOUNT SUMMARY
Beginning Balance                       435,289.20                      AverageCollectcdBalance            1,280,856.94
Deposits                             19,800,000.00
Electonic Deposits                    3,000,000.00
Other Credits                             67,54'1.00

Electronic Payrnents                 19,169,537.00
Other Withdrawals                     2,420,690.00
Ending Balance                        r,712,609.20


DAILY ACCOUNT ACTIVITY
Dcposits
POSTING DATE                   DESCRIPTION                              SEzuALNO                                 AMOUNT

L0/2'7                         DEPOSIT                                                                 I   9,800,000.00

                                                                                       Subtoul:        I   9,800,000,00

Electronic Deposits
POSTING DATE                   DESCRIPTION                              SERIALNO.                                AMOUNT

t0/28                          eTransfer Credit                                                            3,000,000.00
                                        Online Xfcr
                                         Tmnsfer from CK 4242617 136

                                                                                       Subtotal:           3,000,000.00

Other Credits
POSTTNC DATE                   DESCRIPTION                              SERIALNO.                                AMOUNT

l0/15                          WIRETRANSFER TNCOMING                                                           67,547.00
                                         CALEDON TRUST COMPANY
                                                                                       Subtotal:              67,54'1.00

Elecfonic Payments
POSTINC DATE                   DESCRIPTION                               SERIALNO.                               AMOUNT

t0/7                           eTransfer Debit                                                               100,000.00
                                         Online Xfer
                                         Transfer to CK 42 42'174689


Call l-800-YES-2000 for 24-hour Dircct Banking sewicc

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GRIST MILL CAPITAL LLC                                                         Page:                                     3   of3
                                                                               StatementPeriod: Oct0l 2009-Oct3l 2009
                                                                               CustRef#:           4242774712-720-T-###
                                                                               Primary Account#:             424-2774712




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTINODATE                   DESCRIPTION                                      SERIALNO.                                AMOTJNT

r0/15                         eTransfer Debit                                                                      69,s37,00
                                         Online Xfer
                                         Transfer to CK   42 4771   4655

t0t28                         eTransfer Debit                                                               19,000,000.00
                                         Online XGr
                                         Transfcr to CK 424261'1136

                                                                                             Subtotah       19,169,537.00

Othcr Withdrawals
POSTINC DATE                  DESCRIPTION                                      SERIALNO.                                AMOUNT

l0/15                         WIRE TRANSFER FEE                                                                           10.00

10t27                         DEBIT                                                                            333,000.00
t0t27                         WIRE TRANSFER OUTGOING                                                           105,?00.00
                                         Lincolu National Life Insurance Co
L0l2'l                        WIRE TRANSFER OUTCOING                                                               3   1,950,00
                                         Lincoln National Life Insurance Co
r0/27                         WIRE TRANSFER FEE                                                                           15.00

r0t27                         WIRE TRANSFER FEE                                                                           15.00

l0/30                         DEBIT                                                                          1,800,000.00
I   0/30                      DEBIT                                                                            r   50,000.00

                                                                                             Subtoal:        2,420,690.00

DAILY BALANCE SUMMARY
DATE                                       BALANCE                         DATE                                        BALANCE

9lf}                                  435,289.20                           t0127                            19,662,609.20
t017                                  335,289.20                           t0/28                             3,662,609.20
l0/1s                                 333,289.20                           I   0/30                          |,'t t2,609.20




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Exhibit 36
(Page   2 of   5)




               Banknorth                            LIMITED LIABILITY COMPANY BANKING RESOLUTION
                                                                                                            (For Deposit Accounts)

          Account Holder:                                                   Flnancial Institutlon:
                                                                                    TD Bank, N.A.
                AVON CAPITAL LLC
                                                                                    Drake Mill Mall,714 Hopmeadow St
                1OO GRIST MILL ROAD
                SIMSBURY . CT 06070
                                                                                    Slmsbury. CT 06070

                         4242774689                                               l Commonwealth:      CT



         In conslderatlon of the existing or proposed banking relationship between AVON cAPlrAL      LLc   -
         a Limited Liability Company (the "Company") and TD Bank, N.A., the persons slgning belowJointly and severally and on
         behalf of the Company do hereby certiff that and agree as follows:

          AVON CAPITALLLC                                         is the complete and correct name of the Account Holder.


         Managers, Members and Authorized Signers: We further certity that the following is a complete list of the names of all
         managers, members and authorized signers of the Company. We agree to notify the Financial lnstitution of any change in
         the Company, including the adding of new members and leaving of current members from the Company, before the change
         takes effect.




         Assumed Business Names: Excluding the name of the Company, the following is a complete list of all assumed business
         names under which the Company does business:

         Assumed Business Name #1:

         Assumed Business Name #2:


         We further certifu that at a meeting of the,members of the Company (or by other duly authorized Company action in lieu of a
         meeting, duly called and. held on //a" Zn            Z  oO?     , at whlch a quorum was present and voting, the following
         resolutions were adopted

         Be lt Resolved, that TD Bank, N.A., at any one or more of its branches, be and it hereby is designated as the Financial
         Institution of and depository for the funds of this Company, which may be withdrawn on checks, drafts, advices of debit, notes
         or other orders for the payment of money;

         8e lt Further Resolved, that any one (1) of the Authorized signers ("Agents") listed above may enter into any such
         agreements and perform such other acts as they deem reasonably necessary in furtherance of the Company's Banking
         Relationship with the Finanoial Institution, and those agreements will bind the Company, and acting for an on behalf of the
         Company and as its act and deed be, and they hereby are, authorized and empowered;



                                                                                                                                 Paga I ot2




                                                                                                    TD-UNIVERSITAS 0782
(Bage   3 of         5)




         Execute Documents: To execute and deliver to Financial institution the form of Limited Liability Gompany Banking
         Resolution and other account opening documents submitted by Financial lnstitution, confirming the nature and existence of
         Account Holder and evidencing the terms of the agreement between Financial Institution and Account Holder.

         Agent's Authorlty: Any one of such Agents is authorized to endorse all checks, drafts, notes and other items payable to or
         owned by this Company for deposlt wlth the Flnanclal lnstitution, or for collectlon or discount by the Financial lnstitution; and
         to accept draft and other items payable at the Financial Institution. The Financial lnstitution is hereby directed to accept and
         pay without further inqulry any item drawn against any of the Company's accounts with the Financial tnstitution bearing the
         signature o{ any one of the Agents, as authorized above or otherwise, even though drawn or endorsed to the order of Any
         Agent signing or tendered by such Agent for cashing or In payment of the individual obligatlon of such Agent or for deposit t6
         the Agent's personal account, and the Financial Institution shall not be required or be under any obligation to inquire as to the
         circumstances of the issue or use of any item slgned In accordance with the resolutions contained herein, or the application
         or disposition of such item or the proceeds of the item.

         Further Acts: The above-named Agents are authorized and empowered to execute such other agreemenls, including, but
         not limited to, special depository agreements and anangements regarding the manner, conditions or purposes for wnich
         funds, checks or items of Account Holder may be deposited, collected or withdrawn and to perform such other acts as they
         deem reasonably necessary to carry out the provisions of this resolutlons.

         Be lt Further Resolved, that the authority hereby confered upon the above-named Agents shalt be and remain in full force
         and effect until written notice of any amendment or revocation thereof shall have been delivered and received by the
         Financial lnstitution at each location where an account is maintained. Flnancial Institution shall be indemnified and hetd
         harmless by the Company from any loss suffered or any liability incurred by it in continuing to act in accordance with this
         resolution. Any such notice shall not affect any items in process at the time notice glven.

        We.Further Certify that the authorized signers name above are duly elected, appointed or employed by or for the Company,
        as the case may be, and occupy the positions set opposite their respective names; that the foregoing resolutions now stand
        of record on the books of the Company; and that the resolutions are in full force and effect anci have not been modilied or
        revoked in any manner whatsoever.


        We have each read all of the provisions of this Limited Liabilig Company Resotution, and we each jointly and severally and
        on behalf of the Company ceriify and agree to its terms.


        This Agreement is dated: 05not200s

        Account Holder                               AVON CAPITAL LLC




        By;




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                                                                                                                                             TD-UNIVERSITAS 0784
(Page   5 of   5)




                                                                                                                              @




                               LIMITED LIABILITY COMPANY CIIARTER
                    I, DEAN HELLER, the Nevada Secretary of State, do hereby certi$, thatAVON CAPITAL, LLC
                    did on June 6, 2006, file in this office the Articles of OrganiZation for a Limit€d tiability
                    Company, that said Articles of Organization sre now on file and ofrecord in tho office of the
                    Ncvada Secretary of State, and further, that said Articles contain all the provisions required by the
                    laws governing Limited Liability Companies in the State of Nevada.
                                                                 IN WITNESS WHEREOF, I have hereunto set my
                                                                 hand and affixed the 6reat Seal of Sate, at my office
                                                                 on lune 6,2006.



                                                                      -b^il/L
                                                                          DEAN HELLER
                                                                          Secretary of State


                                                                 Bv     ykM"


         I
                                                                                                                 SITAS 0785
(Page    1 of             1)




        eantnortt
ffi                                                                                                                 NEW NON.PERSONAL ACCOUNT

 REGION:                 TD Eanknorlh CT Mld-All                                                                        DATE OPENED:            05t20t2009

 ACCOU1IT       *!       4242n4669                      TYPEOF ACCOUNT:               lM    Euslnass Convonlence Chocking

 TAXfDr:                 2O11ffi427                      rypg 69693            720                                 CArECORY: Nor-P6BonrlCh.cking

 BRANcH        f:        607                             BANK REpRESENIAT,VE:               Carolyn M     Slsr

 Account Omcer Informallon                   (Complele odJy lt !n otficat wlll bc rsllgned to thl! rccount)

 Omsor Nunbot:                                  Otllcer N8mo:                                                                           Tolrphone:

 EUSINESS NAME/AOORESS:                                                              TIN:

 AVON CAPITAL LLC                                                                    201tgog?l                      BUS1NESS         pHONE: (860) 40&7000
 IOO ORIST      MILL ROAD




 SIMSBURY       .   CI


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Exhibit 37
             Bank
             America! Most Convenient Banko                             STATEMENT OF ACCOIJNT



GNSTMILLIIOLDINGS LLC                                                   Page:                                   I of4
                                                                        Statement   Period: Nov 0l 2009-Nov 30 2009
IOO   GRISTMILLROAD
SIMSBURY CT 06070
                                                                        CustRcf#:             4242617136'720:l-###
                                                                        Primary Account #:              424-26t'n36




REG GG/INTERNET GAMBLING NOTIFICATION
PI'RSUANI TO TTE UNLA9IFUL INTERNET GAMBLING ENEORCE!{ENT ACT OT 2006 AND
REGULAIION GC, "RESTRICTED TR,ANSACTIONS" SUCH AS THOSE IN IIHXCH A PERSON ACCEPTS
CREDIT, FUNDS, INSTRUMENTS OR OTHER PROCEEDS rROM ANOI!|ER PEF.SON IN CONNECIIION
IIITT| UNIA!{FUI, INTERNET GA!{BLING ARE PROTIIBITED FROM BSING PROCESSED THROUGH
XOUR ACCOI'NT OR RELATIONSTTIP ?II!H OI'R INSTITIXIION.

Business Convenience Checking
CRIST IIILL HOLDINCS LLC                                                                        Acconnt# 424-26|7|t6


THE PERFECT GIFT FOR EMPLOYEES AND CUSTOMERSI
CIVE THE TD BANK VISA GIFT CARD. YOU CHOOSE THE AMOUNT AND THEY DECIDE VIIIERE IO USE
tT. AVATLABLE FROM $25-$500. BgrK OF.DERS AND FREE PERSONALIZAIION WIrH lOgR BUSINESS
NA!,TE !{gEN YOI' PT'RCHASE 25 CARDS OR MORE. NO PURCSASE TEE FOR CUSTOMERS. ASK FOR IT
roDAy AT ANt fD BAIIK OR CAU. 1-888-751-9000.

ACCOUNT SUMMARY
Beginning Balance                     16,724,493.35                     Aveage Collected Balance         7,029,079,17
Deposits                                  69,380.68

Electronic Payments                    4,l40,0oo,oo
Other Withdrawals                     il,220,230.92
Ending Balance                          1,433,643.11


DAILY ACCOUNT ASI'IVITY
Deposits
POSTINO DATE                     DESCRIPTlON                             SERIAL NO.                            AMOUNT

                                                                                                              2,3 r0.50
lv3                              DEPOSIT
tUtz                             DEPOSIT                                                                     45,660.58

nt24                             DEPOSIT                                                                     2l,409.60

                                                                                         Subtotal:           69,380.68

Electronic Payments
                                 DESCRIPTION                             SERIALNO.                              AMOTJNT
POSTING DATE

Lvt2                             eTransfer Debit                                                          4,r40,000.00
                                         Online Xfor
                                         Transfer to CK 424277 4697

                                                                                          subtotal:       4,140,000.00

Othel Withdrawals
                                 DESCRIPTION                             SEzuALNO.                              AMOUNT
POSTING DATE
                                 WRETRANSFER OUTGOING                                                        10,000,00
tU2
                                       Alliancc Charitable Rentainder Trust
                                 WIRE TRANSFER FEE                                                                15.00
rt/2
Call l-800-YES-2000 for 24-hour Direct Banking sorvice

BANK   DEPOSITS FDIC                                   WWW.TDBANK.COM
                       'NSURED




                                                                                                  TD. UNIVERSITAS         O5O1
How                       to Balance your Account,                                                                                                                  Page:                     2of4

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FOR CONSUMER ACCOIJNTS ONLY                          .
                                               IN CASE OF ERRORS OR                                    FOR CONSUMER         LOAN ACCOUNTS ONLY . BIL,I"INO RIGHTS
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             Bank
             Americo! Most Convenient Banko                                STATEMENT OF ACCOIJNT



GRIST    MILL HOLDINGS LLC                                                 Page:                                    3   of4
                                                                           Statement   Period: Nov 0l 2009-Nov 30 2009
                                                                           Cust Ref#:           4242617136'720'T'###
                                                                           Primary Account #:              424-261'.t   t36




DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE                   DESCRIPTION                                 SERIAL NO.                             AMOLNT

nlt2                           DEBIT                                                                       6,7t0,065,92
tUt2                           DEBIT                                                                       1,000,000.00
tUt2                           DEBTT                                                                       1,000,000.00
ntL2                           DEBIT                                                                          7s0,000,00
ntL2                           WIRE TRANSFER OUTCOINC                                                         250,000.00
                                         Avon Charitabls Remainder Trus(
|1il2                          WIRE TRANSFER OUTCOINC                                                         250,000.00
                                         Phocnix Charitable Reurainder Trust
tl/12                          WIRE TRANSFER OUTGOINC                                                         250,000.00
                                         Alliancg Charitable Rcrnainder Trust
tU12                           WIRE TRANSFER OUTGOING                                                         250,000.00
                                 .       Adantic Charitable Rcmainder Trust
nlt2                           WIRB TRANSFER OUTGOING                                                         250,000,00
                                         Carpenter Charitable Remainder Trst
tvt2                           WIRE TRANSFER OUTCOING                                                         100,000.00
                                         Avon Charitable Remainder Trust
tut2                           WIRE TRANSFER OUTGOINO                                                         100,000.00
                                         Atlantic Charitable Remainder Trust
tLiL2                          WIRE TRANSFER OUTGOINC                                                         100,000.00
                                         Carpenter Charitable Remainder Trst
lvt2                           WIRE TRANSFER OUTCOING                                                         100,000.00
                                         Phoenix Charitable Retnaindcr Trust
lll12                          WIRE TRANSFER OUTCOINC                                                         100,000.00
                                         Alliance Charitable Remainder Trust
fi^2                           WIRETMNSFERFEE                                                                           15.00
                                                                                                                        15.00
tvt2                           WIRE TP,ANSFER FEE
l^2                            WIRE TRANSFER f'EE                                                                       15.00
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tll12                          WIRE TRANSFER FEE
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tt/12
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                               WIRE TRANSFER FEE                                                                        r   5.00
tt/12
                                                                                            Subtotal:      n,220,230.92

DAILY BALANCE SUMMARY
                                           BALANCE                       DATE                                     BALANCE
DATE

l0/3 l                               t6,724,49t.35                       lv3                              16,7 16,?88.85

tU2                                  16,714,478.35                       l^2                                t,412,233.51

Call l -800-YES-2000 for 24-hour Direct Banking service

BANK   DEPOSITS FDIC INSURED                          WWW,TDBANK.COM                                                        o
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                                                                                                    TD- UNIVERSITAS                   O5O3
             Bank
             America! Most Convenient Eanko                         STATEMENT OF ACCOUNT



GRIST MILL HOLDINGS LLC                                             Page:                                    4 of4
                                                                    Stoternent   Period: Nov 0l 2009-Nov 30 2009
                                                                    CustRcf#:               4242617136-720-T-###
                                                                    Primary Account    #:             424-261'llt6



DAILY BALANCE SUMMARY
DATE                                     BALANCE

rU24                               1,433,643.11




Call l-800-YES-2000 for 24lrour Direct Banking service

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                                                                                               TD. UNIVERSITAS            O5O4
Exhibit 38
(Page   2 of     3)




            .t
        ' m'Banknorth                                                            CERTIFICATE OF RESOLUTION OF CORPORATION



          To:          TD Bank,   N.A.                                      ("Depository")   From: (Name/Address of Corporation)
                       Drake Mill Mall, 714 Hopmeadow St                                           CARPENTER FINANCIAL GROUP, INC.
                                                                                                   1OO GRIST MILL RO.

                       Slmsbury, CT 00070                                                          SIMSBURY. CT 06070
                       Region:   TDBN Mid-Atl CT

           I hereby certify that I am the duly elec.ted and quallfled gecretary/Clerk and keeper of lhe reoords of the Corporalion named above, thal
           the following is a true and oomplete copy of a Resolulion duly adopted al a meeting of the Board of Directors or shareholders of said
           Corporation held on, or dated on the date shown below in accordance wilh law and the by-laws ot, or by consent of, said-Corporation,
           and thal my delivery of thts Certificate of Resolutlon to Deposltory csrlifies to Depository that such Resolution is gtill in full force and
           effect,

           RESOLVED, the following offtc€rs, employees or agonts of Coporaiion, whose names and signatures appear belou are heteby
           authorized, acting elngly or jointly, for and on bohalf of the Corporation, to open and maintaln a deposit account or accounts of the
           Corporatlon wlth Deposltory, subJect to the terms and conditions specified in the applicable Account Agreement(s), end to endorse and
           deposit with sald Depository negotiable inskuments or ofter orders for lhe payment of money, which endorsements may be made in
           wrillng or by stamp and without lhe deslgnatlon of lhe person endorsing.

           Be lt further resolved. lhe undsrslgned offlcers, employees or agent8 of Corporatlon may slgn checks or other olders for lhe payment of
           money, wilhdrawing funds from Corporatlon account(s) wlth Deposltory. Such slgnature may be ln wrltlng or by faoslmlle. In the event
           thls Corporation uses facslmlle signature(s) for lheeE persons lt ehall promptly notlff lhe Deposltory and execute any form(s) lhat may
           be requested by Deposltory in conneolion lherowith. This Corporation assumes all responsibility for lho uso of aclual or purported
           facsimile signature(s) and ghall indemnify and hold harmless lhe Depository from any and all liability, @sls. expensos, sults, clalms, or
           actions arising out of any action or Inaclion taken by the Deposltory in good faith under lhe terms of thls Resolution. The signature of
           any one th6 officers, employee8, or agenls Indicated below is necessary to sd under lhis Resofution.

           RESOLVED, that the Depository be promptly notilied In writing by the Secretary/Clerk or any oflicer of this Corpotation of any change In
           this Resolution, such nollcs lo be glven to the Depository In whlch any account of this Corporalion may be malntained, and that until it
           has aclually so received such notice in wriling it lg authorized to act in relianco on this Resolution, and that until it has aclually recelved
           such notice it shatl be indemnified and held harmless from any loss suflered or liability incuned by it in continuing to ad in re$ance of
           this Resolution even lhough lhis Resolution may have been changed.

           RESOLVED, that the Deposltory may, In lts dlscretlon, eccept in lleu of an orlglnal signalure, a leglble facslmile or photocopy of a
           sfgnature of any of the oflicers deslgnated In lhe foregolng R€solulion.

           RESOLVED, that the Corporation shall be bound by the terms and condiliona of the Account Agreement as ll may be revised and or
           amended from lime to tlme.



           U,ra:t^t* hfen"]'o                                        DANIEL E CARPENTER                   7.,
            Vi$       n   flr.t;AJ                                   AMANDA ROSSI                            c




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          Sebretary'gClerk's Slgnalure

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                                                                                                                   TD-UNIVERSITAS 0895
(Page 3 of    3)



    r,     STITE 0F
        SEAIETARY OF STATE
                             oELAHARE

     OTVTSION OF CORPORATIONS
     FILE0 09;00 Af'l 05/03/1995
         950097263       -   2503693
                                                     'EBRTIFICATE OF INCORPORJITION
                                                                        OF

                                                 CA,RPENTER       FINANCIAL GROUP, INC.



                                 FIRST. The           name     of t,his corporation shalL be:
                                                 CARPE}ITER FINANCTAL GROUP, INC.

                          SECOND. Ibs registsered off,ice in the gtaEe of Delaware
                     is to be located at 101.3 cenEre Road, in the clEy of
                     tfilmlngcon, CounEy of New Cast1e, 19805, and lts regisuered
                     agenE, at such address is CORPORArE ACENIS, INC.

                                 lflIRD.       The   purpose     or puryoses of the corporaEion shall
                     be:
                         To engaEe in any lawfuL act or activiEy for crhich
                     coryorations may be organized under Elre General Corporatrion
                   Law          of      Delaware.

                     '          FOIIRTH. The EoEaI number               of   shares   of   sEock which Lhis
                   corporation is auEhorized to issue is:
                   One Thousand Five Hundred (1,500) shares withouu par value.
                       FIFTtl. The name and maiLing address of                             Ehe lncorporat,or
                   is as follows:
                                                                 Sarah Thomas
                                                        Corporate AgenEs, Inc
                                                              L013 Centre Road
                                                        I,llilmlngbon, DE 19805
                                                        ,rJ.
                      SI,XTII. The FQard of Directors shall have the power to
                   adopc, amend or repeal the by-laws.

                       IN tAlIT},fDSF WHEREOF, ?he undersigned, being che
                   incorporaFgf. hereinbefore namgd, has execuLed, signred and
                                        cercificabe of ,incorporatlon this
                   acknonledg-ed rh{.g 'A.D.
                   third           day.   of   MFy,             1995.




                                                                        fncorporator




                                                                                                TD-UNIVERSITAS 0896
(Page 1 of                 1)




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F&
          Banknorth
&H                                                                                                              NEW NON.PERSONAL ACCOUNT

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 CARPENTER           FIMNCIAL OROUP. INC                                           001538889                    BustN6sspno1E: (800)40&7000
 lOO   GRFT MILI. RO.




 SIMSBURY. CT                                         usA                              060t0



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                                                                                                                                                                       TD-UN   RSITAS 0897
Exhibit 39
            Banlr
            America3 Most Convenient Banko                                        STATEMENT OF ACCOIJNT



GRIST MILL HOLDINCS LLC                                                           Page:                                       I ofl
IOO GRIST MILL ROAD
                                                                                  StatementPeriod:     Dcc0l   2009-Dec   3l 2009
                                                                                  Cust Ref #:           4242617136-'120-T-#.##
SIMSBURY CT 06070
                                                                                  Primarv Account #:               424-2617136




Business Convenience Checking
GNIST MTLL $OI.DIN6S                                                                                     Account# 424-2617136
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KEEPING YOU INFORMED
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ACCOUNT SUMMARY
Begirming Balancc                           r,433,643.1 t                         Average Collectod Balance           894,350.93
Deposits                                       t91,421.2',t
ElecEonic Deposits                          6,500,000.00

Electronic Payments                         8,129,9t6.75
Ending Balance                                   1,t47.63


DAILY ACCOUNT ACTIVITY
Deposits
POSTINC DATE                        DESCRIPTION                                   SERIAL NO,                                AMOTJNT

t219                                DEPOSIT                                                                                2,816.7 |
t2t28                               DEPOSIT                                                                           t70,820.42
12130                               DEPOSIT                                                                               23,784.14

                                                                                                 Subtotal:            191,42t,2'l
Electronic Deposits
POSTINO DATE                        DESCRIPTION                                   SERIAL NO                                 AMOUNT

t2t3                                eTransfer Credit                                                                6,500,000.00
                                             Online Xf€r
                                                Transfer from CK 4242774689

                                                                                                 Subtotal:          6,500,000.00

Electronic Payments
POSTINO DATE                        DESCRIPTION                                   SERIAL NO.                                AMOUNT

t2t3                                eTransfor Dcbit                                                                 7,000,000.00
                                        .       Online Xfer
                                                Trausfer to CK 4242774697
r2t28                               eTransfer Debit                                                                   214,740.00
                                                Online Xfer
                                                Transf€r to cK   42 4277 47 12

12129                               eTransfer Dcbit                                                                   340,900.00
                                                Online Xfer
                                                Transfcr to cK 424n74712

Call l-800-YES-2000 for 24-hour Direct Banking service

EANK DEPOSITS FDIC INSURED                  @                 WWW.TDBANK.COM




                                                                                                           TD- UNIVERSITAS             O5O5
How                to Balance your Account                                                                                                                   Page:                     2    ofj
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FOR CONSUMER ACCOTJNTS ONLY                   .   IN CASE OF PRRORS OR                         FOR CONSUMER             LOAN ACCOI'NTS ONLY. A]LLINC RIGHTS
QUESTIONS ABOTJT YO{JR DLECTRONIC FUNDS TMNSFERS:                                              SUMMARY
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           Bank
           Americo! Most Convenient ganko                             STATEMENT OF ACCO('NT



GRISTMILLHOLDINGS LLC                                                 Page:                                  3 of3
                                                                      Statement   Period: Dec 0l 2009-Dec 3l 2009
                                                                      CustRif#:              4242617136-720:l-fl##
                                                                      Primarv Account   #:             424'2617136




DAILY ACCOUNT ACTIVITY
Electronic Payrnents (continued)
                                                                       SERIAL NO.                             AMOIJNT
POSTINCDATE                   DESCRIPTION

                              eTransfer Debit                                                              52,7'17.5s
12t29
                                       Online Xfer
                                       Transfer to CK 42427747 12
12t29                         eTransfer Debit                                                              25,000.00
                                       Online Xfer
                                       Transfer to CK 42427747 12
t2t30                         eTransfer Debit                                                             274,400.00
                                       Online Xfet
                                       Transtbr to cK 4242'174712
t2t30                         eTrarrsfer Debit                                                            127,800.00
                                       Onlinc Xfer
                                       Transfcr to CK 4242774712
r2t3l                         eTransfer Debit                                                              86,299.20
                                       Online Xfer
                                       Transfer to CK 42427747   12
                                                                                                             8,000.00
l2t3l                         eTransfer Debit
                                       Online Xfcr
                                       Transfer to CK 4242774712

                                                                                        subtotal:       8,129,916;15

DAILY BALANCE SUMMARY
                                          BAI.ANCE                    DATE                                    BALANCE
DATE
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I ti30
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l2t9                                  936,459.82                      t2t3l                                  t,t4'1 .63

12128                                 892,540.24




Call l-800-YES-2000 for 24'hour Direct Banking service

BANK Depostrs rDrc   tNsuuD          @               www.TDBANK.coM




                                                                                                TD. UNIVERSITAS           O5O7
Exhibit 40
              Bank
              America3 Most Convenient Banko
                                                                                     STATEMENT OF ACCOUNT


 CARPENTER FINANCIAL CROUP, INC.                                                     Page:                                         I of4
 IOO CRIST MILL RD,                                                                  Statement Period: Dec 0l 2009.Dec 3l 2009
 SIMSBURY CT 06070                                                                   Cust  Ref#:        4242774697-720-T-###
                                                                                     Primary Account #:            424-2774697




 Business Convenience Checking
 CARPEN1AR FII{ANCIAL GROUP, TNC.                                                                            Account # 424-2774697

 KEEPING YOU INFORMED
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ACCOT'NT SUMMARY
 Beginning Balance                          1,970,194.14                            AverageCollectedBalance              3,404,078.91
 Elecbonic Deposits                         7,000,000.00
 Other Credits                                 125,015.00

 Checks Paid                                    56,997.87
 Elechonic Payments                         6,403,669.36
Other Withdrawals                             758,045.00
Ending Balance                              1,876,496.9r

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTINGDATE                          DESCRIPTION                                     SERIALNO.                                   AMOUI.IT
tzt3                                 eTransfer Credit                                                                     7,000,000.00
                                              Online Xfer
                                              Transfer from CK 4242617136

                                                                                                      Subtotal:           7,000,000.00
Other Credits
POSTINGDATE                          DESCRIPTION                                     SERTALNO.                                   AMOIJNT
l2t3                                 WIRE TRANSFER INCOMING                                                                 125,000.00
                                           CARPENTER FINANCIAL CROUP. INC
lzt4                                 CREDIT                                                                                        15.00

                                                                                                      Subtotal:             125,015.00
Checks Paid         No- Chefts: l0            rhdi€tg bruk   In   sqid c4rcncoorchek pmsed clstreielly ud lktcd uodsElatmnic Paymcnts
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tzt7                 t032                        500.00                           t2t3r               1039                    2,500.00
tzt9                 1033                     3,000.00                            rzt30               1040                   33,94t.93
t2/23                I   034                  r,423.65                            rzt30               l04l                    7,472.53

                                                                                                      Subtotal:               56,997.87


Call l-800-YES-2000 for 24-hour Direct Banking servicc

BANK DEPOSITS fDTC INSURED                @                 WWW.TDBANK.COM




                                                                                                        TD-UNIVERSITAS 0915
    How                    to Balance your Account                                                                                                             Page:                       2af4
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FOR CONSIJMER ACCOTJNTS ONLY . IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY                       .   BILLtr.IC RICHTS
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  CARPENTER FINANCIAL CROUP. INC.                                             Page:                                 3   of4
                                                                              StatementPeriod: Dec0l 2009-Dec 3l 2009
                                                                              CustRef#:            4242774697-720-T4##
                                                                              Primary Account #:            424-2774697




  DAILY ACCOI.JNT ACTIVITY
  Electronic Payments
  POSTINGDATE                   DESCRIPTION                                    SERI,ALNO.                         AMOIJNT
  tzt3                          eTransfer Debit                                                             5,000,000.00
                                           Online Xfer
                                          Transfer to CK 4242'174671
  tztr0                         eTransfer Debit                                                                  1,000.00
                                          Online Xfer
                                          Transfer to CK 424404 l32S
 r2t29                          eTransfer Debit                                                                 10,200.00
                                          Online Xfer
                                          Transfer to CK 4241768219
 t2t30                          eTransfer Debit                                                               778,000.00
                                          Online Xfer
                                          Transfer to   cK 4242n4699
 t2t3l                          eTransfer Debit                                                               514,469.36
                                          Online Xfer
                                          Transfer to   cK 4242774689
 t2t3l                         eTransfer Debit                                                                100,000.00
                                          Online Xfer
                                          Transfer to   cK 42427''4'112

                                                                                            Subtotal:       6,403,669.36
 Other Withdrawals
POSTINGDATE                    DESCRIPTION                                    SERIALNO.                           AMOI.JNT
 12t3                          WIRE TRANSFEROUTGOING                                                          125,000.00
                                          Jack Robinson Esq.
 tu3                           WIRETRANSFERFEE                                                                      15.00
 tzt4                          WIRE TRANSFER OUTGOING                                                         125,000.00
                                          Jack Robinson Esq
 l2t4                          WIRETRANSFERFEE                                                                      15.00
 t2tr7                         WIRE TRANSFER OUTGOING                                                         500,000.00
                                          Gilbride, Spellane Trustee Acct
t2il7                          WIRETRANSFERFEE                                                                      15.00
r2t23                          DEBIT                                                                            8,000.00

                                                                                            Subtotal:        758,045.00
DAILY BALANCE SUMMARY
DATE                                        BALANCE                         DATE                                 BALANCE
l r/30                               1,970,194.14                           rzt9                           3,840,423.98
t2t2                                1,969,438.98                            t2n0                           3,839,423.98
l2t3                                3,969,423.98                            t2n7                           3,339,408.98
tzt4                                3,844,423.98                            tu22                           3,337,504.38
12/1                                3,843,423.98                            12t23                          3,328,080.73

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   CARPENTER FINANCIAL CROI"JP. INC.                                    Page:                                4 of 4
                                                                        Statement Period: Dec 0l 2009-Dec 3l 2009
                                                                        Cust   Ref#:       4242774697-720-T-###
                                                                        Primary Account #:            424-2774697



  DAILY BALANCE SUMMARY
  DATE                                      BALANCE                    DATE                                BALANCE
  tu28                               3,323,080.73                      12/30                         2,493,466.27
  tu29                               3,3 r 2,880.73                    t2t3l                          1,876,496.91




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